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   14 Circinus, LLC

   15

   16                           UNITED STATES DISTRICT COURT
   17                         CENTRAL DISTRICT OF CALIFORNIA
   18
                                     WESTERN DIVISION
   19

   20 MOSAFER INC.; MOSAFER ECOM,                CASE NO. 2:21-cv-06320-MCS-JC
   21 INC.; and GOMOSAFER,                       [Assigned to Hon. Mark C. Scarsi]
   22                 Plaintiffs,                COUNTERCLAIM-PLAINTIFFS’
              vs.                                OPPOSITION TO
   23
                                                 COUNTERCLAIM-DEFENDANT
   24 ELLIOTT BROIDY, et al.,                    STATE OF QATAR’S MOTION
                      Defendants.                TO DISMISS COUNTERCLAIMS
   25
                                                 PURSUANT TO RULES 12(b)(1)
   26                                            AND 12(b)(2) OF THE FEDERAL
        ELLIOT BROIDY; BROIDY                    RULES OF CIVIL PROCEDURE
   27 CAPITAL MANAGEMENT, LLC;

   28 CIRCINUS, LLC,


                    BROIDY OPPOSITION TO QATAR’S MOTION TO DISMISS
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    1
                   Counterclaim-Plaintiffs,   Date: January 24, 2022
    2       vs.                               Time: 9:00 a.m.
                                              Courtroom: 7C
    3
      MOSAFER INC.; MOSAFER ECOM,
    4 INC.; GOMOSAFER; STATE OF
      QATAR; ABU ISSA HOLDING
    5
      WLL; ASHRAF ABU ISSA; NABIL
    6 ABU ISSA,

    7
                   Counterclaim-Defendants.
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                                            v
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    1           Defendants and Counterclaim Plaintiffs Elliott Broidy (“Mr. Broidy”),
    2 Broidy Capital Management, LLC (“BCM”), and Circinus, LLC (collectively,

    3 “Broidy” or the “Broidy parties”), pursuant to L.R. 7-9 and the Court’s Initial

    4 Standing Order ¶ 9.B (ECF 10), submit this opposition to the motion to dismiss

    5 (“Motion” or “Mot.”) filed by Counterclaim-Defendant State of Qatar (“Qatar”).

    6 I.        INTRODUCTION
    7           The State of Qatar proposes that it is allowed to act through proxies in the
    8 U.S. courts to pursue and punish U.S. citizens who criticize it. Qatar also proposes

    9 that, no matter how transparent the proxy relationship, or how blatant its proxies’

   10 use of documents and information that were obtained by Qatari-sponsored illegal

   11 computer hacking and anonymous lawsuits, Qatar should be forever insulated from

   12 counterclaims by the U.S. citizens that it targets. These proposals contradict the

   13 principles and history of the Foreign Sovereign Immunities Act (“FSIA”). The

   14 Court should reject them.

   15           The nominal plaintiffs in this lawsuit are an obscure luggage retailer and its
   16 related entities—Mosafer Inc., Mosafer E-Com, Inc., and GoMosafer (collectively,

   17 “Mosafer” or the “Mosafer parties”). These plaintiffs have filed suit on the

   18 ostensible theory that the defendants’ public (and constitutionally protected)
   19 discussions of Qatar’s well-documented relationship with extremists and

   20 terrorists—none of which mentioned luggage, tourism, or any of the plaintiffs by

   21 name or implication—led to decreased tourism and lower sales.

   22           The Mosafer parties, who have filed a separate motion to dismiss the
   23 Counterclaims,1 do not explain how they decided which entities to sue. By their

   24 telling, it is just a coincidence that they targeted the precise entities that the State of

   25 Qatar had identified as its critics through a series of Doe lawsuits in various U.S.

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            Mosafer’s motion to dismiss is scheduled to be heard contemporaneously with this
   28 Motion on January 24, 2022.
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    1 courts. Nor do the Mosafer parties explain why they targeted Mr. Broidy. Again,

    2 under their narrative, it is just a coincidence that they sued an individual whom the

    3 State of Qatar has spent years and untold millions targeting with an extensive hack-

    4 and-smear campaign in retaliation for his criticisms of the country and in an effort

    5 to silence him.

    6        As explained in Broidy’s Counterclaims, these were no coincidences.
    7 Rather, the Mosafer parties and their owners—Counterclaim-Defendants Abu Issa

    8 Holding WLL (“AIH”), Ashraf Abu Issa, and Nabil Abu Issa (collectively, the

    9 “AIH parties”)—are longstanding proxies for Qatar, with deep ties to the state.

   10 Crediting the allegations of the Counterclaims, as the Court must here, the AIH

   11 parties and the Mosafer parties (which AIH owns and controls) are acting on direct

   12 orders from and as proxies for the State of Qatar, with the purpose of squelching

   13 criticism of the regime and punishing its critics as an example to others. As

   14 alleged, Qatar enlisted Mosafer/AIH to file the Complaint on Qatar’s behalf for the

   15 specific purpose of achieving the State’s aim of silencing its critics while

   16 preserving its ability to claim sovereign immunity—precisely the tactic that has

   17 now come to pass and that Qatar now asks this Court to bless.

   18        In the instant Motion, Qatar asks the Court to adopt an interpretation of the
   19 FSIA that would wholly insulate Qatar (and any similar regimes) from liability

   20 even as it makes transparent use of proxies to act on its behalf and achieve its ends

   21 in U.S. courts. This is at odds not only with the history and policy of the FSIA, but

   22 with common sense. The Court should deny the Motion.

   23 II.    BACKGROUND2
   24        Mr. Broidy was among many individuals and entities—including multiple
   25

   26

   27  To avoid burdening the Court with duplicative briefing, the Broidy parties
        2


      incorporate by reference the Background section of their recently filed Opposition to
   28 Mosafer and Abu Issa Counter-Claim Defendants’ Motion to Strike or Dismiss,
                                             2
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    1 U.S. government agencies, the current National Security Advisor, and the former

    2 President of the United States—who criticized Qatar for its documented history of

    3 harboring or supporting terrorists and extremists, including the Taliban, Hamas,

    4 and the Muslim Brotherhood. ECF 46 (“Counterclaims” or “CC”) ¶¶ 27-29, 112,

    5 118. During the same period, a handful of websites also published information

    6 about the regime’s ties to extremists. Id. ¶43.

    7         Qatar responded by using agents to hack Mr. Broidy’s email accounts. Id.
    8 ¶ 37. Qatar and its agents then mixed those illegally obtained emails with clever

    9 forgeries and transferred these packages to public relations firms which, in turn,

   10 distributed the deceptive and fraudulent materials to various publications to smear

   11 Mr. Broidy. Id. ¶ 37. Soon after, Qatar filed a series of Doe lawsuits in U.S.

   12 courts to force social media companies and other third parties to disclose

   13 information about the operators of websites that criticized the regime. Id. ¶¶ 43-

   14 49.

   15         Qatar’s campaign culminated in a Complaint, brought in the name of the
   16 Mosafer parties, that targets Mr. Broidy, companies with ties to him, and entities

   17 that were involved in the websites that criticized Qatar. Id. ¶¶ 49-51. As alleged in

   18 the Counterclaims, the Mosafer parties and AIH parties are closely tied to the
   19 Qatar regime and have acted as its proxies in the past. Id. ¶¶ 61-92. Qatar chose to

   20 act through them rather than in its own name for the specific purpose of avoiding

   21 exposure to counterclaims through assertions of sovereign immunity. Id. ¶¶ 50-51.

   22 III.    LEGAL STANDARD
   23         A party mounting a Rule 12(b)(1) challenge to the Court’s jurisdiction may
   24 do so either on the face of the pleadings or by presenting extrinsic evidence for the

   25 Court’s consideration. See White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000)

   26

   27
        which is scheduled to be heard contemporaneously with the instant Motion. See
   28 ECF 114 at 3-6.
                                       3
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    1 (“Rule 12(b)(1) jurisdictional attacks can be either facial or factual”). “In a facial

    2 attack, the challenger asserts that the allegations contained in a complaint are

    3 insufficient on their face to invoke federal jurisdiction.” Safe Air for Everyone v.

    4 Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).

    5        In ruling on a Rule 12(b)(1) motion attacking the complaint on its face, the
    6 court must accept the allegations of the complaint as true. See Doe v. Holy See,

    7 557 F.3d 1066, 1073 (9th Cir. 2009) (“[I]f the defendant challenges only the legal

    8 sufficiency of the plaintiff’s jurisdictional allegations, then the district court should

    9 take the plaintiff’s factual allegations as true and determine whether they bring the

   10 case within any of the exceptions to immunity invoked by the plaintiff”) (internal

   11 quotations and citation omitted); see also Wolfe v. Strankman, 392 F.3d 358, 362

   12 (9th Cir. 2004) (assuming allegations to be true and drawing all reasonable

   13 inferences in plaintiff’s favor in context of jurisdictional challenge). Courts

   14 “favorably view[] the facts alleged to support jurisdiction.” McNatt v. Apfel, 201

   15 F.3d 1084, 1087 (9th Cir. 2000).

   16        A litigant who sues a foreign state bears the initial burden of showing that
   17 one of the FSIA’s exceptions applies to that state. Meadows v. Dominican

   18 Republic, 817 F.2d 517, 522–23 (9th Cir. 1987). “Once the party seeking the
   19 exception has assert[ed] at least some facts that would establish the exception, the

   20 party seeking immunity bears the ultimate burden of proving the nonapplicability

   21 of the exception[] raised by its opponent.” Frank v. Commonwealth of Antigua &

   22 Barbuda, 842 F.3d 362, 367 (5th Cir. 2016) (internal citations omitted); see also

   23 Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 40 (D.C. Cir. 2000)

   24 (“In accordance with the restrictive view of sovereign immunity reflected in the

   25 FSIA, the defendant bears the burden of proving that the plaintiff's allegations do

   26 not bring its case within a statutory exception to immunity.”) (internal quotations

   27 and citation omitted).

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    1 IV.     ARGUMENT
    2         A.     The Court Has Subject Matter Jurisdiction Under the
    3                Counterclaim Exception (28 U.S.C. § 1607)
    4         The FSIA provides that foreign states are subject to the jurisdiction of
    5 United States courts if a specific statutory exception to sovereign immunity

    6 applies. See OBB Personenverkehr AG v. Sachs, 577 U.S. 27, 31 (2015); see

    7 also 28 U.S.C. § 1604. Among other exceptions, the FSIA provides that “[i]n any

    8 action brought by a foreign state [] in a court of the United States . . . the foreign

    9 state shall not be accorded immunity with respect to any counterclaim. . . (b)

   10 arising out of the transaction or occurrence that is the subject matter of the claim of

   11 the foreign state.” 28 U.S.C. § 1607.

   12         As the Restatement (Fourth) of Foreign Relations Law explains:
   13         The rationale supporting unlimited recovery for related counterclaims
   14
              against foreign states, even when the counterclaim could not have been
              brought in the United States as an original action, is that when a state resorts
   15         to courts in the United States to resolve a dispute, it thereby consents to
   16         resolution by those courts of all aspects of the dispute. . . . [W] hen a state
              initiates an action, it subjects itself to the jurisdiction of the court with
   17         respect to all claims related to that controversy.
   18
        Restatement (Fourth) of Foreign Relations Law § 453, comment c (2018). The
   19
        legislative history of the FSIA’s counterclaim exception is in accord with this
   20
        rationale: “[I]f a foreign state brings or intervenes in an action based on a particular
   21
        transaction or occurrence, it should not obtain the benefits of litigation before U.S.
   22
        courts while avoiding any legal liabilities claimed against it and arising from that
   23
        same transaction or occurrence.” H.R.Rep. No. 94-1487, at 23 (1976), reprinted
   24
        in 1976 U.S.C.C.A.N. 6604, 6622; see also Alberti v. Empresa Nicaraguense De
   25
        La Carne, 705 F.2d 250, 254 (7th Cir. 1983) ( “The rationale behind the
   26
        counterclaim exception is the desire to remove the basic unfairness of the situation
   27
        in which [w]e have a foreign government invoking our law but resisting a claim
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                                         5
                   BROIDY OPPOSITION TO QATAR’S MOTION TO DISMISS
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    1 against it which fairly would curtail its recovery.”) (internal citations omitted).3

    2         Indeed, long before the FSIA was enacted, the Supreme Court had
    3 acknowledged the fundamental unfairness that the counterclaim exception was

    4 designed to prevent. In holding that the Republic of China, which had sued a

    5 United States bank in federal court to recover deposits of a Chinese governmental

    6 agency, was properly subject to the bank’s counterclaims based on defaulted

    7 Chinese treasury notes, the Court reasoned: “The short of the matter is that we are

    8 not dealing with an attempt to bring a recognized foreign government into one of

    9 our courts as a defendant and subject it to the rule of law to which

   10 nongovernmental obligors must bow. We have a foreign government invoking our

   11 law but resisting a claim against it which fairly would curtail its recovery. It wants

   12 our law, like any other litigant, but it wants our law free from the claims of

   13 justice.” National City Bank of N.Y. v. Republic of China, 348 U.S. 356, 361

   14 (1955). That “short of the matter” is equally true in this case, and fortunately the

   15 FSIA includes an express exception to foreign sovereign immunity to address it.

   16         The Section 1607(b) counterclaim exception applies here—and accordingly
   17 Qatar has no immunity from the Counterclaims—because (1) the Mosafer lawsuit

   18 is properly defined as an “action brought by a foreign state,” and (2) the
   19 Counterclaims arise out of the same “transaction or occurrence” that is the subject

   20 matter of that action.4

   21

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        3
   23     For these reasons, Qatar’s argument that the counterclaim exception cannot apply
        if the Court grants Broidy’s Motion to Strike or Dismiss (Mot. at 16:17-17:2) is
   24   meritless. Qatar cites no authority for the proposition that a stricken complaint does
   25   not count as an “action brought” under § 1607, and the rationale for the exception
        applies equally to a foreign state that tries—and fails—to abuse the system.
   26   4
          Qatar asserts that Broidy has invoked the waiver exception to immunity under 28
   27   U.S.C. § 1605(a)(1), and spends a substantial portion of its brief addressing that
        issue. See Mot. at 1:9-10, 2:22-3:2, 17:3-25:8. In fact, Broidy has not invoked the
   28   waiver exception and does not do so now. That provision is immaterial because in
                                                    6
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    1                1.    The Putative Mosafer Complaint is an “Action Brought by a
    2
                           Foreign State” Under Bancec

    3         In First Nat’l City Bank v. Banco Para El Comercio Exterior de Cuba
    4 (“Bancec”), 462 U.S. 611 (1983), superseded by statute on other grounds as stated

    5 in Rubin v. Islamic Republic of Iran, 138 S. Ct. 816, 823 (2018), the Supreme

    6 Court addressed whether an action brought by an entity that is not itself a foreign

    7 state can nonetheless be treated as an action brought by a foreign state for purposes

    8 of invoking the counterclaim exception.

    9         The plaintiff in Bancec, Cuba-based Banco Para El Comercio Exterior de
   10 Cuba (also known as Bancec), sued Citibank in federal court to collect on a letter

   11 of credit. Bancec, 462 U.S. at 613. Citibank counterclaimed against the Republic

   12 of Cuba, asserting a right to setoff based on the value of Citibank assets that the

   13 Cuban government had seized. Id. The Supreme Court held that Cuba was a

   14 proper counterclaim defendant, reasoning that a corporate entity is considered an

   15 alter ego of a foreign state for purposes of the FSIA when: (1) “a corporate entity is

   16 so extensively controlled by its owner that a relationship of principal and agent is

   17 created,” or (2) under “broader equitable principle[s],” treating the corporation as a
                                                                  5
   18 separate entity “would work fraud or injustice.” Id. at 629.
   19         The Ninth Circuit has applied the Bancec standard to determine whether a
   20 plaintiff’s allegations were sufficient to permit jurisdiction over a foreign state

   21 based on acts committed by its affiliated domestic corporations. See Doe v. Holy

   22 See, 557 F. 3d at 1079 (9th Cir. 2009). In doing so, the Ninth Circuit joined the

   23 D.C. Circuit and the Fifth Circuit in extending Bancec’s analysis to the question of

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   25
        the present case the Court has both subject matter and personal jurisdiction over
   26 Qatar under the counterclaim exception.
        5
   27  Either prong of the disjunctive Bancec test can lead to alter ego status. See
      Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 333 F. Supp. 3d 380,
   28 396-97 (D. Del. 2018) (citing cases).
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    1 whether the actions of an affiliated domestic corporation may render a foreign

    2 sovereign amenable to suit. See Transamerica Leasing v. La Republica de

    3 Venezuela, 200 F.3d 843 (D.C. Cir. 2000); Arriba Ltd. v. Petroleos Mexicanos, 962

    4 F.2d 528, 533-36 (5th Cir. 1992).

    5        Qatar wrongly asserts that “[n]o court has extended Bancec to hold that a
    6 private entity, over which the foreign state has no ownership interest, can be

    7 treated as ‘a foreign state’ under the FSIA.” Mot. at 10:26-28 (emphasis in

    8 original). In fact, in Sachs v. Republic of Austria, 695 F.3d 1021 (9th Cir. 2012),

    9 on reh’g en banc, 737 F.3d 584 (9th Cir. 2013), rev’d on other grounds sub nom.

   10 OBB Personenverkehr AG v. Sachs, 577 U.S. 27 (2015), the Ninth Circuit applied

   11 the Bancec standard to determine whether Rail Pass Experts, a private entity over

   12 which the foreign state (Austria) had no ownership interest, could be treated as an

   13 alter ego of Austria under the FSIA. Id. at 1025-26. While the Sachs court

   14 ultimately decided that, on the specific facts and allegations before it, the

   15 connection between the private entity and the foreign state was too attenuated, the

   16 court left open the application of the counterclaim exception where a foreign

   17 government was “attempting to use a United States court to recover on a claim

   18 while at the same time trying to avoid being the subject of an adversary
   19 proceeding.” Id. at 1026 (citing Flatow v. Islamic Republic of Iran, 308 F.3d 1065,

   20 1072 (9th Cir. 2002)). The Sachs court further made clear that the Bancec standard

   21 is applicable to the FSIA’s jurisdictional provisions regardless of which exception

   22 is at issue. Sachs, 695 F.3d at 1027.

   23        Here, the Bancec standard fully supports the application of the FSIA’s
   24 counterclaim exception. As alleged in the Counterclaims, Qatar is abusing the

   25 United States courts to bring a claim through its proxy while at the same time

   26 asserting sovereign immunity over a counterclaim focused on the same subject

   27 matter. CC ¶ 3. In this case, as in Bancec, giving effect to the corporation’s

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    1 separate juridical status “would permit the real beneficiary of [the] action . . . to

    2 obtain relief in our courts that it could not obtain in its own right without waiving

    3 its sovereign immunity.” Bancec, 462 U.S. at 632 (emphasis added). Here, as in

    4 Bancec, allowing Qatar to maintain the fiction of an identity separate from the

    5 nominal Plaintiffs “would work fraud or injustice.” Id. at 629.

    6                      a.     The Mosafer Parties are Alter Egos of the State of Qatar
    7        The Counterclaims—the factual allegations of which must be accepted as
    8 true for purposes of this Motion—are more than sufficient to establish an alter ego

    9 relationship. As alleged, the Mosafer parties—like their parent company (AIH)

   10 and their owners, the Abu Issas—are sponsored and controlled by the State of

   11 Qatar. See CC ¶¶ 61-106. According to a United States banking compliance

   12 expert, the Abu Issa brothers are “closely intertwined with the Government of

   13 Qatar and its representatives.” CC ¶ 53; ECF 46-2 ¶ 30. Likewise, an expert in

   14 Middle East affairs, Dr. Yleem D.S. Poblete, confirms that Mosafer (through the

   15 Abu Issa parties) has extensive connections to the Qatari state and the ruling Al-

   16 Thani royal family. CC ¶ 8; ECF 46-1 ¶¶ 31, 53. And the Mosafer/Qatar

   17 Complaint itself admits that Mosafer is “intimately associated” and “synonymous”

   18 with the State of Qatar. ECF 1 ¶ 31.
   19        As alleged in the Counterclaims, Qatar enlisted the Mosafer and Abu Issa
   20 parties to file this lawsuit on its behalf to silence Broidy, Ironistic, SCL, and three

   21 others. CC ¶¶ 249, 263, 301. To that end, Qatar supplied Mosafer with the

   22 documents it had obtained through its abusive use of the U.S. judicial system. CC

   23 ¶ 49. These documents identified SCL and Ironistic as the parties behind the four

   24 domain names at issue here. Id. Mosafer thus used the fruits of Qatar’s Doe

   25 subpoenas—as well as the documents that Qatar had collected and generated as

   26 part of its illegal hack-and-smear campaign against Mr. Broidy—to file this lawsuit

   27 on Qatar’s behalf against Qatar’s critics, based entirely on patently bizarre and

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    1 frivolous claims of commercial wrongdoing against an unknown (and now

    2 defunct) luggage retailer. See CC ¶¶ 6, 9, 45-51.

    3        The transparently preposterous nature of the Complaint’s allegations itself
    4 demonstrates the existence of an alter ego relationship. The ostensible plaintiffs in

    5 this case—Mosafer Inc., Mosafer E-Com, Inc. and GoMosafer—cannot possibly

    6 prove that Broidy’s criticisms of Qatar have in any way harmed their business.

    7 The Complaint fails on its face to allege any actions taken by Broidy against the

    8 Mosafer parties; indeed, there is no allegation or indication that Broidy ever said

    9 anything about Mosafer, or even knew that it existed. Nor does the Complaint cite

   10 any actual evidence that any specific statement by Broidy concerning Qatar’s

   11 activities is false. Mosafer offers only one conclusory statement that “Qatar did

   12 not support terrorists or provide them with a safe haven” (ECF 1 ¶ 66)—a

   13 statement that is flatly contradicted by Middle East experts and the U.S.

   14 government, and that Mosafer would clearly have no way to know or competently

   15 allege, let alone prove, if it were indeed just a private luggage retailer. Moreover,

   16 the central factual premise of the Complaint—that Broidy’s conduct stifled Qatar’s

   17 tourism business generally, resulting in indirect harm to Mosafer—is demonstrably

   18 false, as U.S. tourism to Qatar in fact increased each year during the relevant
   19 period, with “unprecedented” growth in 2019, the year when Mosafer’s lone U.S.

   20 storefront closed. CC ¶¶ 54-55.

   21        The nature of the relief sought in this lawsuit further confirms that Mosafer
   22 is pursuing this action on behalf of Qatar. Mosafer seeks an impermissibly vague

   23 and sweeping injunction “prohibiting Defendants from engaging in the conduct

   24 and practices alleged herein.” See ECF 1 ¶¶ 105, 113, 121. But the “conduct and

   25 practices alleged herein,” as referred to in the Complaint, have nothing to do with

   26 Mosafer; rather, they include a baseless claim that Mr. Broidy “acted as [an]

   27 unregistered agent[] of the UAE in violation of FARA” (see id. ¶ 56), as well as a

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    1 generalized grievance about Mr. Broidy exercising his constitutional right to

    2 comment on foreign policy issues involving Qatar. See id. ¶ 66. The requested

    3 injunction is nonsensical given the Mosafer parties’ allegations, which fail to

    4 identify even a single statement targeted at them. The only party alleged to be the

    5 target of the purportedly unlawful statements, and the only would-be real

    6 beneficiary of the extraordinary relief sought in this lawsuit, is the State of Qatar

    7 itself. See, e.g., id. ¶¶ 1, 3, 6, 7.

    8         Qatar’s assertion that “Broidy has not pointed to ‘equitable principles’ that
    9 support treating Mosafer as Qatar” under the Bancec standard (Mot. at 12:12-13) is

   10 simply wrong. Indeed, the entire thrust of the Counterclaims is that equitable

   11 principles support treating the Mosafer parties as real-party-in-interest Qatar so

   12 that Qatar cannot attack Broidy and other U.S. citizens while abusing the Mosafer

   13 parties’ corporate form or status to hide behind the curtain of sovereign immunity.6

   14 See, e.g., CC ¶¶ 1-9, 25, 36-52, 61, 241, 249, 301. In light of the legal and factual

   15 hollowness of the Mosafer parties’ claims and the absence of any demonstrable

   16 harm to them, as shown above, the filing of the Complaint only makes sense in the

   17 context that the Counterclaims provide—i.e., that this lawsuit has been brought by,

   18 for, and on behalf of the State of Qatar. As such, Qatar is the alter ego of Mosafer,
   19 and allowing Qatar to maintain the fiction that the lawsuit is the private act of an

   20 obscure luggage retailer to evade accountability under Broidy’s Counterclaims

   21 “would work fraud or injustice.” Bancec, 462 U.S. at 629.

   22

   23

   24   6
          While Qatar argues that the Counterclaims do not contain a separate allegation
   25   stating “that Qatar abused the corporate form by creating a separate legal entity to
        shield itself” (Mot. at 12:22-24), such an allegation is not necessary, and the facts of
   26   the cases that Qatar cites are illustrative rather than exhaustive. The Counterclaims
   27   do adequately allege that Qatar is attempting to “inappropriately use[] the separate
        status of the corporations to its own benefit, as in Bancec.” Doe v. Holy See, 557
   28   F.3d at 1080.
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    1                      b.     In the Alternative, the Mosafer Parties are Agents or
    2
                                  Instrumentalities of the State of Qatar

    3         Even if Mosafer is not the alter ego of Qatar under the equitable prong of
    4 Bancec (which it is), the Complaint was still brought by a “foreign state” as

    5 required for application of the FSIA counterclaim exception because Mosafer and
                                       7
    6 its owner, AIH (d/b/a. GoMosafer) , are an “agent or instrumentality” of the State

    7 of Qatar under 28 U.S.C. § 1603(b).

    8         The FSIA defines a “foreign state” to include a political subdivision of a
    9 foreign state or an “agency or instrumentality of a foreign state.” 28 U.S.C.

   10 § 1603(a). An “agency or instrumentality of a foreign state” is, in turn, defined as

   11 any entity: “(1) which is a separate legal person, corporate or otherwise, and (2)

   12 which is an organ of a foreign state or political subdivision thereof, or a majority of

   13 whose shares or other ownership interest is owned by a foreign state or political

   14 subdivision thereof, and (3) which is neither a citizen of a State of the United

   15 States as defined in section 1332(c) and (e) of this title, nor created under the laws

   16 of any third country.” Id. § 1603(b). “The Act’s legislative history suggests that

   17 Congress intended the terms ‘organ’ and ‘agency or instrumentality’ to be read

   18 broadly.” Gates v. Victor Fine Foods, 54 F.3d 1457, 1460 (9th Cir. 1995).
   19         There can be no dispute that the first and third elements are satisfied here.
   20 The Mosafer parties purport to be corporate entities separate from the State of

   21 Qatar. One of the Mosafer parties, Gomosafer, is a limited liability company based
                        8
   22 in Qatar. CC ¶ 15.

   23

   24   7
          As alleged in the Counterclaims, nominal plaintiff GoMosafer is a mere d/b/a for
   25   AIH and is not itself a legal entity. CC ¶ 15. Even according to Plaintiffs,
        GoMosafer is “the online division of Mosafer Travel, a Qatari travel agency,” which
   26   in turn is “fully owned by [AIH], a Qatari company.” See ECF 1 ¶ 19; ECF 4 at 2.
        8
   27     The other two Mosafer parties, while incorporated in Delaware, are wholly owned
        and controlled by the Abu Issa parties, including AIH, and many of Mosafer Inc.’s
   28   purported “employees” are in fact employed by AIH. CC ¶¶ 13-14, 62-63.
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    1        With respect to the second element, the Ninth Circuit delineated what is
    2 required to be an “organ” of a foreign state in Patrickson v. Dole Food Co., 251

    3 F.3d 795, 807 (9th Cir. 2001).9 In that case, two workers brought a class action

    4 suit against a number of companies, including two Israeli companies, for injuries

    5 allegedly sustained from exposure to harmful pesticides. The Israeli companies

    6 removed the case to federal court pursuant to the FSIA, and argued (among other

    7 things) that they should be considered organs of a foreign state under §1603(b)(2).

    8 Id. at 807. The court explained that “[i]n defining whether an entity is an organ,

    9 courts consider whether the entity engages in a public activity on behalf of the

   10 foreign government” (id.), and then applied a multi-factor analysis to make that

   11 determination. Among the relevant considerations are “the circumstances

   12 surrounding the entity’s creation, the purpose of its activities, its independence

   13 from the government, the level of government financial support, its employment

   14 policies, and its obligations and privileges under state law.” Id.; see also Gates, 54

   15 F.3d at 1461 (noting that “an entity’s involvement in commercial affairs does not

   16 automatically render the entity non-governmental” for purposes of constituting an

   17 “organ” under § 1603(b)(2)).

   18        When an entity’s purpose includes carrying out national policy or advancing
   19 the state’s interest, it may be found to be an organ of the state. See EIE Guam, 322

   20 F.3d at 640-42 (finding entity to be an “organ” of the state where the entity’s

   21 “purpose is to carry out [] national policy”); Gates, 54 F.3d at 1461 (finding entity

   22 to be an “organ” where “the purpose of the entity in question is to advance the

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   24   9
        The fact that Qatar might not directly own each of the Counterclaim-Defendant
   25 entities—something that can be confirmed only through discovery—does not affect
      the analysis, as such ownership is only one way to establish the second element of
   26
      “agency or instrumentality.” See EIE Guam Corp. v. Long Term Credit Bank of
   27 Japan, Ltd., 322 F.3d 635, 639 (9th Cir.2003) (noting that “organ” and “majority of
      shares” prongs are disjunctive).
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    1 [state’s] interest”). An entity “may be an organ even if it has some autonomy from

    2 the foreign government.” Patrickson, 251 F.3d at 807; see also Gates, 54 F.3d at

    3 1461 (entity is an “organ” under government control where foreign state’s “laws

    4 and regulations narrowly circumscribe the entity’s ability to act independently,”

    5 even if state is not directly involved in the entity’s day-to-day activities).

    6 Similarly, an entity can be privately created and still be considered an organ of the

    7 state. See California Dep’t of Water Res. v. Powerex Corp., 533 F.3d 1087, 1100

    8 (9th Cir. 2008) (finding that a private firm was an “organ” of the state because the

    9 firm’s activities were in furtherance of policies adopted by the state and thus were

   10 activities pursued for “public purposes”).

   11           As alleged in the Counterclaims, AIH has been closely intertwined with and
   12 dependent on the ruling family of Qatar for the two generations since its founding.

   13 CC ¶¶ 61-77. In return for its loyal service, AIH receives tremendous financial

   14 support from government officials, including with visible royal patronage and

   15 partnership in various so-called “joint ventures” with foreign businesses, as well as

   16 with lucrative state awarded contracts for massive public infrastructure projects

   17 that further advance the State of Qatar’s interest. See CC ¶¶ 70-77. AIH engages

   18 in public activity on behalf of the State of Qatar, and AIH’s officers regularly serve
   19 as representatives of AIH while simultaneously acting as proxies for Qatar and

   20 assisting with its sovereign functions. Id. ¶¶ 78-92. Moreover, Qatar’s laws and

   21 regulations narrowly circumscribe AIH’s ability to act independently (ECF 46-1

   22 ¶¶ 32- 50), and AIH’s own Company Profile describes its mission as including

   23 “supporting the overall economy and gross domestic product (GDP) of the state of

   24 Qatar.”10 Thus, much if not all of AIH’s work is pursued for “public purposes.”

   25 Powerex, 533 F.3d at 1100. For these reasons, AIH d/b/a GoMosafer and the other

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             https://www.abuissa.com/wp-content/uploads/2019/02/AIH-Profile-16Oct.pdf, at
   28 p.7.
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    1 Mosafer parties are properly deemed “organs”—and thus “agenc[ies] or

    2 instrumentalit[ies]—of the State of Qatar, providing an alternative basis to find that

    3 the Mosafer Complaint constitutes an “action brought by a foreign state.” See 28

    4 U.S.C. §§ 1603(a), 1607.

    5         Qatar’s reliance on Samantar v. Yousuf, 560 U.S. 305 (2010), is misplaced.
    6 In Samantar, the defendant, a former Somali government official, asked to be

    7 considered a foreign state under the FSIA in order to be immune from suit. Id. at

    8 308. The court held that the defendant failed to meet the required standard,

    9 reasoning that “the terms Congress chose simply do not evidence the intent to

   10 include individual officials within the meaning of “agency or instrumentality.” Id.

   11 at 316. Samantar did not, as Qatar asserts, deal with the question of whether an

   12 entity can be treated as an agency or instrumentality of a foreign state when it acts

   13 on behalf of a foreign state. See Mot. at 10:28-11:2. Rather, the Samantar court

   14 addressed only whether an individual foreign official, sued for conduct undertaken

   15 in his official capacity, is an “agency or instrumentality of a foreign state” entitled

   16 to immunity from suit within the meaning of the FSIA. Samantar, 560 U.S. at 315.

   17 Indeed, the Samantar court distinguished its facts by noting that “the types of

   18 defendants listed [in the FSIA] are all entities.” Id. at 317 (emphasis added).
   19 Accordingly, the Ninth Circuit has recently made clear that an entity that falls

   20 within the statutory definition of a foreign state can be treated as a foreign state,

   21 distinguishing Samantar as dealing only with individuals or natural persons (which

   22 are not even mentioned in the FSIA). WhatsApp Inc. v. NSO Grp. Techs. Ltd., 17

   23 F.4th 930, 938-39 (9th Cir. 2021).11

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        11
   25   Contrary to Qatar’s description, WhatsApp did not categorically hold that a
      “private company allegedly acting as an agent of a foreign state cannot ‘meet[] the
   26 FSIA’s definition of “foreign state.”’” (Mot. at 9:23-25). Rather, the court solely

   27 addressed whether a specific entity that licensed technology to a foreign government
      and that did not fall within the FSIA definition of “foreign state” (including an
   28 “agency or instrumentality” thereof) could nevertheless claim sovereign immunity
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    1               2.     The Counterclaims Arise Out of the Same Transaction or
    2
                           Occurrence as the Mosafer Complaint

    3         Given that the Mosafer lawsuit constitutes an “action brought by a foreign
    4 state,” as shown above, the only remaining question for application of the

    5 counterclaim exception is whether the Counterclaims “aris[e] out of the transaction

    6 or occurrence that is the subject matter of the claim of the foreign state.” 28

    7 U.S.C. §1607(b).

    8         “To construe ‘transaction or occurrence’ in § 1607(b), we look for guidance
    9 to cases that construe the same phrase in [Federal Rule of Civil Procedure] 13(a).”

   10 Cabiri v. Gov’t of Republic of Ghana, 165 F.3d 193, 197 (2d Cir. 1999). As the

   11 Supreme Court observed in Moore v. New York Cotton Exchange, 270 U.S. 593

   12 (1926), “‘[t]ransaction’ is a word of flexible meaning. It may comprehend a series

   13 of many occurrences, depending not so much upon the immediateness of their

   14 connection as upon their logical relationship.” Id. at 610. In Moore, the Court

   15 found the standard satisfied where there was “one circumstance without which

   16 neither party would have found it necessary to seek relief” and “essential facts

   17 alleged by [the plaintiff] enter[ed] into and constituted in part the cause of action

   18 set forth in the counterclaim.” Id. Importantly, the Court observed that the fact
   19 that the claims “are not precisely identical, or that the counterclaim embraces

   20 additional allegations, . . . does not matter. To hold otherwise would be to rob this

   21 branch of the rule of all serviceable meaning, since the facts relied upon by the

   22

   23
        under common law principles. WhatsApp, 17 F.4th at 940. The court answered this
   24 limited question in the negative. Id. WhatsApp in fact reaffirmed that private

   25 entities that meet the standard of “organ” or “agent or instrumentality” of a “foreign
        state”—a term that the court recognized “is defined broadly”—do constitute the
   26 “foreign state” under FSIA. Id. at 938-40. Moreover, neither WhatsApp nor

   27 Samantar even mentioned Bancec, let alone purported to disturb the Bancec
        standard for when a private company acting as the alter ego of a foreign state can
   28 meet the FSIA’s definition of a “foreign state.”
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    1 plaintiff rarely, if ever, are, in all particulars, the same as those constituting the

    2 defendant's counterclaim.” Id. (emphasis added); see Pochiro v. Prudential Ins.

    3 Co. of America, 827 F.2d 1246, 1249 (9th Cir. 1987) (noting that Ninth Circuit has

    4 given Rule 13 “an increasingly liberal construction,” and analyzing “whether the

    5 essential facts of the various claims are so logically connected that considerations

    6 of judicial economy and fairness dictate that all the issues be resolved in one

    7 lawsuit”).

    8         Here, the transactions and occurrences alleged in the competing pleadings
    9 easily meet this liberal and flexible standard. The Mosafer Complaint focuses on

   10 the defendants’ criticism of the State of Qatar. See ECF 1 ¶¶ 1-13, 61-66. The

   11 Counterclaims have the same focus—they target Qatar’s ongoing attempts to use

   12 proxies and unlawful conduct to retaliate against and silence Broidy’s criticism of

   13 the State of Qatar. See CC ¶¶ 2, 9, 25, 246, 249, 257, 260-63. Put simply,

   14 Broidy’s public criticism of Qatar is “the one circumstance without which neither

   15 party would have found it necessary to seek relief.”12 Moore, 270 U.S. at 610.

   16         The Complaint and Counterclaims are further logically related in that the
   17 Counterclaims allege that the Complaint and attendant media blitz were merely a

   18 continuation of the years-long Qatari-sponsored campaign to silence Broidy’s
   19 criticisms of Qatar. See CC ¶¶ 1-6, 25-41. Indeed, the continuity of this

   20 campaign—and therefore the relatedness of the transactions and occurrences

   21 pursuant to it—is amply demonstrated by the fact that almost the entirety of the

   22 Mosafer Complaint’s factual assertions regarding Broidy are simply excerpts from

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        12
        Great Socialist People’s Libyan Arab Jamahiriya v. Miski, 683 F. Supp. 2d 1
   24
      (D.D.C. 2010), does not alter this analysis. See Mot. at 15:25-16:3. Unlike the
   25 counterclaim-plaintiff in that case, Broidy does not seek relief stemming from the
      simple initiation of the lawsuit itself. Rather, he seeks relief from a continued and
   26
      ongoing conspiracy and pattern of racketeering activity designed to silence his
   27 criticism of Qatar—the same criticism that provides the entire purported basis for
      the Complaint.
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                                       17
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    1 hacked materials purloined during the very Qatari-sponsored hack-and-smear

    2 operation at the heart of Counts 4-12—hacked materials that Qatari agents had

    3 disseminated to various media outlets with the intent to intimidate and silence

    4 Broidy’s criticisms. See CC ¶¶ 5, 37, 166-230; see also ECF 1 ¶¶ 56-59, 64-65.

    5        There is also a clear logical connection between the relief sought in the
    6 Complaint and the Counterclaims, which are flip sides of the same coin. The

    7 Mosafer Complaint seeks damages and a sweeping and permanent injunction that

    8 would prohibit Broidy and the other defendants from exercising their free speech

    9 rights to criticize and call public attention to Qatar’s policies and practices. See

   10 ECF 1 at ¶¶ 13, 105, 113, 121. The Counterclaims, conversely, seek damages and

   11 injunctive relief to prevent Qatar and its proxies from attempting to silence and

   12 retaliate against Qatar’s critics in the United States. See CC ¶¶ 2-7, 240-46.

   13        Qatar’s reliance on Judge Walter’s Order Denying Transfer of Related Cases
   14 is unavailing. Mot. at 15:18-20; see ECF 50. Notably, Mosafer itself filed the

   15 Notice of Related Case in this matter. ECF 49. In exercising his discretion to

   16 decline the transfer, Judge Walter found that under Local Rules 83-1.2.2 and 83-

   17 1.3.1 the instant case was not related to Broidy Capital Management, LLC et al. v.

   18 State of Qatar et al., Case No. 18-cv-02421-JFW (“Broidy v. Qatar”) because they
   19 involve different claims and different parties. Qatar cites no authority for the

   20 proposition that the standard for determining relatedness under Local Rules 83-

   21 1.2.2 and 83-1.3.113 also applies to the liberally construed Section 1607(b) of the

   22 FSIA or Rule 13(a) of the Federal Rules of Civil Procedure. Moreover, even a

   23

   24   13
         Local Rule 83-1.2.2 asks whether an action alleges “the same or essentially the
   25 same claims, involving the same or essentially the same parties.” Local Rule 83-
      1.3.1 applies whenever two civil cases (a) arise from the same or a closely related
   26 transaction, happening, or event; (b) call for determination of the same or

   27 substantially related or similar questions of law and fact; or (c) for other reasons
      would entail substantial duplication of labor if heard by different judges.
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    1 finding that the Counterclaim here involves different claims and parties from

    2 Broidy v. Qatar would plainly not be determinative of the relevant question under

    3 Section 1607—whether the Counterclaims are logically related to the claims in the

    4 Complaint in this case.

    5        Qatar’s reliance on Cabiri is also misplaced. Cabiri involved a series of
    6 counterclaims, some that met the “logical relationship” standard and some that did

    7 not. See Cabiri, 165 F.3d at 195. For example, the court found that the plaintiff’s

    8 breach of contract claim was logically related to his eviction because “the core

    9 issue in both claims is whether Cabiri's employment was lawfully terminated.” Id.

   10 at 198. Here, as in Cabiri, the Complaint and Counterclaims share a common

   11 “core issue”—i.e., whether the defendants are allowed to criticize the Qatari

   12 regime without being targeted and retaliated against by that regime in the United

   13 States.

   14        In sum, accepting the Counterclaims’ allegations as true for purposes of this
   15 Motion, Broidy has amply demonstrated that (1) the action in this case is one

   16 brought by a foreign state, and (2) the Counterclaims bear a logical relationship to,

   17 and therefore arise out of the same transactions or occurrences as, the claims in the

   18 Complaint. Accordingly, Broidy has met the burden of asserting “at least some
   19 facts” supporting application of the counterclaim exception to the FSIA applies.

   20 See Frank, 842 F.3d at 367; Meadows, 817 F.2d at 522-23. Because Qatar has not

   21 met its “ultimate burden of proving the nonapplicability of the [counterclaim]

   22 exception,” Frank, 842 F.3d at 367, Qatar’s Motion should be denied.

   23        B.     In the Alternative, the Court Should Permit Broidy to Pursue
   24
                    Jurisdictional Discovery and Amend the Counterclaims

   25        Alternatively, should the Court not deny Qatar’s Motion in its entirety based
   26 on the counterclaim exception to the FSIA, Broidy requests leave to amend the

   27 Counterclaims to state additional facts supporting subject matter jurisdiction. See

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    1 Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)

    2 (district courts should freely provide leave to amend on the granting of a motion to

    3 dismiss unless it is clear that the complaint could not be saved by amendment);

    4 DeSoto v. Yellow Freight System, Inc., 957 F.2d 655, 658 (9th Cir. 1992) (same).

    5        Moreover, Broidy should be permitted to conduct jurisdictional discovery to
    6 uncover additional facts supporting the Court’s exercise of jurisdiction. See Laub

    7 v. U.S. Dep’t of Interior, 342 F.3d 1080, 1093 (9th Cir. 2003) (holding that

    8 jurisdictional discovery is appropriate when it is “useful to establish federal subject

    9 matter jurisdiction”). Indeed, if it is “possible” that the plaintiff could demonstrate

   10 the requisite jurisdictional facts under the FSIA if granted jurisdictional discovery,

   11 then “[i]t is an abuse of discretion to dismiss for lack of subject matter jurisdiction

   12 without giving [a] plaintiff reasonable opportunity” to conduct discovery to show

   13 subject matter jurisdiction under the FSIA. Greenpeace, Inc. (U.S.A.) v. State of

   14 France, 946 F. Supp. 773, 789 (C.D. Cal. 1996); see also Crist v. Republic of

   15 Turkey, 995 F. Supp. 5, 11 (D.D.C. 1998) (“[S]overeign immunity is a critical

   16 preliminary determination of subject matter jurisdiction and [] the parties should be

   17 permitted a fair opportunity to engage in jurisdictional discovery so as to

   18 adequately define and submit to the court facts necessary for a thorough and
   19 complete consideration of the issue.”); Wells Fargo & Co. v. Wells Fargo Express

   20 Co., 556 F.2d 406, 430 n.24 (9th Cir. 1977) (holding that district court abused its

   21 discretion in refusing to grant jurisdictional discovery). This is particularly true

   22 when the facts demonstrating jurisdiction are peculiarly within the knowledge of

   23 the party against whom discovery is sought. Kamen v. American Tel. & Tel. Co.,

   24 791 F.2d 1006, 1011 (2d Cir. 1986).

   25        In its concurrently filed Motion to Stay Discovery, Qatar claims that
   26 jurisdictional discovery is inappropriate here because the instant Motion does not

   27 dispute Broidy’s factual allegations, but argues only that any FSIA exceptions are

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    1 inapplicable as a matter of law. ECF 103-1 at 8:13-15, 8:24-27. This

    2 characterization of Qatar’s Motion is demonstrably false, as the Motion is replete

    3 with denials of critical jurisdictional allegations that the purported “Mosafer”

    4 Complaint was in fact brought by Qatar.14 But even were the facts undisputed,

    5 Broidy would not be precluded from obtaining jurisdictional discovery on that

    6 ground, as such discovery “may appropriately be granted where pertinent facts

    7 bearing on the question of jurisdiction are controverted or where a more

    8 satisfactory showing of the facts is necessary.” Data Disc, Inc. v. Sys. Tech.

    9 Assocs., Inc., 557 F.2d 1280, 1285 n.1 (9th Cir. 1977)) (citations omitted)

   10 (emphasis added); see also Laub, 342 F.3d at 1093 (stating that jurisdictional

   11 discovery should be granted where “the jurisdictional facts are contested or more

   12 facts are needed,” and reversing district court’s decision not to permit discovery

   13 “[b]ecause additional discovery would be useful to establish federal subject matter

   14 jurisdiction” (emphasis added)).

   15         As but one of many possible examples, discovery regarding whether Qatar
   16 provided the Mosafer parties with the information obtained from its Doe lawsuits

   17 and directed Mosafer as to what parties to sue would unquestionably bear on both

   18 the alter ego analysis and the agency/instrumentality analysis above. Qatar
   19

   20   14
           See, e.g., Mot. at 2:2-3 (“Qatar emphatically denies the allegation that it is
   21   somehow behind Mosafer’s lawsuit, just as it continues to deny the underlying
        allegations.”); id. at 2:12-13 (“[T]his action was brought by private companies—not
   22   a ‘foreign state.’”); id. at 3:17-18 (“Mosafer disputes Broidy’s allegations about its
   23   relationship with Qatar.”); id. at 8:7-8 (“[T]his suit filed by private companies is not
        an ‘action brought by a foreign state,’ as required by the exception.”); id. at 11:15-
   24   16 (“To be clear, Qatar denies that Mosafer is its ‘proxy’ or that it filed this action
   25   ‘at the behest of Qatar.’”); id. at 12:24-25 (“The Mosafer companies are private
        entities that . . . seek to recover for their own economic losses.”); id. at 14:11-12
   26   (“[N]o ‘foreign state’ has made a ‘claim’ in this case.”); id. at 19:21 (“There Has
   27   Been No Action by a ‘Foreign State.’”); id. at 22:24-23:1 (“[I]t is clear that Qatar
        did not ‘directly contact,’ ‘direct[ly] engage,’ or make any ‘direct request’
   28   whatsoever of, a U.S. court.”).
                                                      21
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    1 speculates in its Motion that the Mosafer parties could have gotten some

    2 information about some of the defendants through means other than Qatar. Mot. at

    3 24 n.9. In Qatar’s telling, the Mosafer parties could have stumbled upon a filing at

    4 the International Court of Justice that identified Haitham Al Mussawi, an official at

    5 the United Arab Emirates’ Embassy in the United States, in connection with the

    6 registration of the domain names qatartruth.com and qatarexposed.com; could then

    7 have further stumbled onto a profile of defendant Ironistic on the webpage of

    8 internet marketing company Design Rush; could have seen in that profile that the

    9 UAE is identified as an Ironistic client; and could then have simply assumed that

   10 Ironistic must have been behind the qatartruth.com and qatarexposed.com websites

   11 because the United Arab Emirates—a wealthy nation with interests around the

   12 globe—must have used only one company for all of its website work. Id. Qatar’s

   13 strained—in fact, ludicrous—theory about the Mosafer parties’ pre-Complaint

   14 investigation does nothing to address how the Mosafer parties would have known

   15 that Ironistic was involved in all four website domains, not just the two mentioned

   16 in the ICJ pleading. Nor does it explain how the Mosafer parties learned about

   17 defendants SCL, Project Associates, and Atkinson. But more importantly, Qatar

   18 should not be permitted to provide the Court with speculation about where the
   19 Mosafer parties could have learned the information that led to their Complaint

   20 while simultaneously arguing that there should be no discovery into how the

   21 Mosafer parties actually learned that information.

   22        Filus v. Lot Polish Airlines, 907 F.2d 1328, 1332 (2d Cir. 1990) is
   23 instructive. In that case, survivors of passengers killed in an airplane crash brought

   24 a negligence suit against the USSR, which had allegedly designed and serviced the

   25 aircraft. The USSR filed a motion to dismiss based on sovereign immunity, and

   26 plaintiffs responded by seeking discovery regarding possible commercial activity

   27 that could bring the defendants within one of the FSIA exceptions. The USSR,

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    1 like Qatar here, contended “that if the court lacks jurisdiction over it, it cannot be

    2 subjected to discovery.” Id. at 1332. Acknowledging that tension, the Filus court

    3 concluded that the plaintiff was to be allowed discovery with respect to the

    4 jurisdictional issue, but would not be entitled to other discovery until she had

    5 shown a reasonable basis for assuming jurisdiction. Id. at 1332.15

    6         Here, the Counterclaims contain more than sufficient factual allegations to
    7 justify jurisdictional discovery. See Peterson v. Islamic Republic of Iran, 563 F.

    8 Supp. 2d 268, 274 (D.D.C. 2008) (jurisdictional discovery should be granted if the

    9 plaintiff presents non-conclusory allegations that, if supplemented with additional

   10 information, will materially affect the court’s analysis with regard to the

   11 applicability of the FSIA). If the Court were to have questions as to whether the

   12 counterclaim exception applies, Broidy would seek discovery relating to several

   13 specific jurisdictional facts crucial to the immunity determination, including but

   14 not limited to the relationship between Qatar and the Mosafer and Abu Issa parties,

   15 communications between Qatar and the Mosafer and Abu Issa parties concerning

   16 the subject matter of the Complaint and Counterclaims, and documents concerning

   17 whether the Mosafer parties obtained pre-filing information about the defendants

   18 from Qatar. All of these inquiries involve specific jurisdictional facts that could be
   19 “useful to establish federal subject matter jurisdiction.” Laub, 342 F.3d at 1093.

   20 V.      CONCLUSION
   21         For all of the foregoing reasons, the Court should deny the Motion in its
   22 entirety. Alternatively, should the Court not be prepared to deny the Motion on

   23

   24   15
           See also Foremost–McKesson, Inc. v. Islamic Republic of Iran, 905 F.2d 438, 449
   25   (D.C. Cir. 1990) (reversing denial of motion to dismiss because a dearth of fact-
        finding); Gilson v. Republic of Ireland, 682 F.2d 1022, 1026 (D.C. Cir. 1982)
   26   (reversing dismissal of plaintiff's claims for lack of jurisdiction under the FSIA
   27   because “the facts as alleged—and generously interpreted—[made] a dismissal at
        least premature in light of the dearth of fact-finding done by the district court”
   28   (emphasis added)).
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    1 this record, Broidy respectfully requests leave to conduct jurisdictional discovery

    2 and amend the Counterclaims.

    3

    4 Dated:       December 29, 2021             KASOWITZ BENSON TORRES LLP
    5

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    1                           CERTIFICATE OF SERVICE
    2        I certify that, on December 29, 2021, I electronically filed the foregoing with
    3 the Clerk of the Court using the CM/ECF system, which will send notice to all

    4 counsel of record.

    5

    6                                  /s/Daniel A. Saunders
    7
                                       Daniel A. Saunders

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